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 6                                 UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9                                                      No. 2:18-mj-152-EFB
      IN THE MATTER OF THE
10    EXTRADITION OF OMAR
      ABDULSATAR AMEEN TO THE
11    REPUBLIC OF IRAQ                                  ORDER
12

13          A status conference was held on March 20, 2019. The United States was represented by

14   Assistant U.S. Attorney Audrey Hemesath, and Attorney John Riesenberg of the U.S. Department

15   of Justice, Office of International Affairs. Mr. Ameen was present and represented by Assistant

16   Federal Defenders Benjamin Galloway and Rachelle Barbour.1 As stated on the record at the

17   hearing, the court sets the following schedule in this matter:

18          1. Mr. Ameen shall file his motion to compel Facebook, Inc. to comply with his

19   subpoenas on or before March 25, 2019. Facebook, Inc. shall file its opposition, if any, to that

20   motion by March 29, 2019. The motion will be heard on April 1, 2019, at 2:00 p.m.

21          2. Any motion by Mr. Ameen for additional discovery2 shall be filed on or before April 8,

22   2019. The government shall file its opposition to any such motion on or before April 15, 2019.

23   Mr. Ameen shall file any reply on or before April 22, 2019. The motion will be heard on May 7,

24   2019 at 10:00 a.m.

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26              Counsel for the intervening The Sacramento Bee was not present.
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27            As noted in the government’s opposition to the recent motion to unseal, Ameen’s
     counsel have served two letters requesting various discovery items. ECF No. 102 at 1-2. The
28   government has noted its objection to those requests. Id. at 2.
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 1          3. The parties are conferring as to: (1) redactions of some content in the extradition
 2   packet and; (2) the admissibility of evidence outside the extradition packet. Any motion as to
 3   either topic shall be filed by May 15, 2019. Any opposition shall be filed such motion will be
 4   heard on May 17, 2019 at 10:00 a.m. Hearing on any such motion will be held May 21, 2019, at
 5   3:00 p.m.
 6          4. Trial briefs, including witness and exhibit lists, must be filed by May 14, 2019.
 7          5. The extradition hearing currently set for April 29, 2019 is continued to May 28, 2019
 8   at 10:00 a.m. in Courtroom No. 8.
 9   DATED: March 21, 2019.
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